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                                  #:1394


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 11                      UNITED STATES DISTRICT COURT
 12                     CENTRAL DISTRICT OF CALIFORNIA
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      CHAMBER OF COMMERCE OF                      Case No. 2:24-cv-00801-ODW-PVC
 15   THE UNITED STATES OF
      AMERICA, CALIFORNIA                         ORDER
 16   CHAMBER OF COMMERCE,
      AMERICAN FARM BUREAU
 17   FEDERATION, LOS ANGELES                     Date:        September 9, 2024
      COUNTY BUSINESS                             Time:        1:30 PM
 18   FEDERATION, CENTRAL                         Courtroom:   5D
      VALLEY BUSINESS                             Judge:       The Honorable Otis D.
 19   FEDERATION, and WESTERN                                  Wright, II
      GROWERS ASSOCIATION,
 20                                          Trial Date: Not Set
                                 Plaintiffs, Complaint Filed: January 30, 2024
 21
                 v.
 22
    LIANE M. RANDOLPH, in her official
 23 capacity as Chair of the California Air
    Resources Board, and STEVEN S.
 24 CLIFF, in his official capacity as the
    Executive Officer of the California Air
 25 Resources Board, and ROBERT A.
    BONTA, in his official capacity as
 26 Attorney General of California,

 27                            Defendants.
 28                                           1
                                  [PROPOSED] ORDER
Case 2:24-cv-00801-ODW-PVC       Document 51      Filed 07/10/24    Page 2 of 3 Page ID
                                      #:1395


  1                                       ORDER
  2        Having considered the foregoing Stipulation, and good cause appearing
  3   therefor, IT IS HEREBY ORDERED THAT:
  4         1.     The deadline for Defendants to file their opposition to Plaintiffs’
  5   motion for summary judgment shall be continued to July 24, 2024;
  6         2.     Defendants shall file their Rule 56(d) motion no later than July 24;
  7         3.     The deadline for any amicus briefs in support of Defendants’ motion
  8   for summary judgment to be filed shall be continued to August 5, 2024;
  9         4.     The deadline for Plaintiffs to file their reply brief in support of their
 10   motion for summary judgment shall be continued to August 19, 2024;
 11         5.     Plaintiffs shall file their opposition to Defendants’ Rule 56(d) motion
 12   no later than August 19, 2024;
 13         6.     Defendants shall file their reply in support of their Rule 56(d) motion
 14   no later than August 26, 2024;
 15         7.     The hearing on Defendants’ Rule 56(d) motion is set for September 9,
 16   2024, at 1:30 p.m., in Courtroom 5D of the United States District Court for the
 17   Central District of California, located at 530 W. 1st St., Los Angeles, CA 90012, to
 18   facilitate the Court’s consideration of all pending motions at the same time;
 19

 20        IT IS SO ORDERED.
 21

 22
               July 10, 2024
      Dated:     _______________                            By: ______________________
 23                                                              Hon. Otis D. Wright, II
                                                             United States District Judge
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 28                                              2
                                       [PROPOSED] ORDER
Case 2:24-cv-00801-ODW-PVC             Document 51        Filed 07/10/24      Page 3 of 3 Page ID
                                            #:1396




                                CERTIFICATE OF SERVICE
 Case Name:       Chamber of Commerce of the               No.    2:24-cv-00801-ODW-PVC
                  United States of America, et al.
                  v. Liane M. Randolph, et al.

 I hereby certify that on July 9, 2024, I electronically filed the following documents with the
 Clerk of the Court by using the CM/ECF system:

     •    [PROPOSED] ORDER

 I certify that all participants in the case are registered CM/ECF users and that service will be
 accomplished by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on July 9,
 2024, at Los Angeles, California.


                 Libby Tecson                                     /s/ Libby Tecson
                   Declarant                                          Signature

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